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    8                     UNITED STATES DISTRICT COURT
    9              FOR THE CENTRAL DISTRICT OF CALIFORNIA
   10
   11   TAI HANG, and                           Case No. 5:21-cv-00287-JWH-KK
        ROBERT CANALES, on behalf of
   12     themselves and all others similarly
          situated,                             ORDER GRANTING IN PART
   13                                           AND DENYING IN PART THE
                    Plaintiffs,                 MOTION OF DEFENDANT OLD
   14                                           DOMINION FREIGHT LINE, INC.
              v.                                TO DISMISS AND/OR STRIKE
   15                                           PORTION OF PLAINTIFFS’
        OLD DOMINION FREIGHT LINE,              THIRD AMENDED COMPLAINT
   16     INC., a Virginia corporation; and     [ECF No. 20]
        DOES 1 to 100, inclusive,
   17
                    Defendants.
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    1         Before the Court is the motion of Defendant Old Dominion Freight Line,
    2   Inc. to dismiss and/or strike portions of the third amended complaint of
    3   Plaintiffs Tai Hang and Robert Canales.1 The Court conducted a hearing on the
    4   Motion in October 2021 and subsequently ordered the parties to submit
    5   supplemental briefing. After considering the papers filed in support and
    6   opposition,2 as well as the arguments that the parties made during the hearing,
    7   the Court orders that the Motion is GRANTED in part and DENIED in part,
    8   as set forth herein.
    9                                 I. BACKGROUND
   10   A.    Procedural History
   11         This lawsuit began in November 2020, when Hang and Canales filed their
   12   initial complaint in San Bernardino County Superior Court.3 They amended
   13   their state court complaint a month later.4
   14         Old Dominion removed this action to this Court in February 2021.5 The
   15   next month, Hang and Canales amended their complaint again.6 Old Dominion
   16   moved to dismiss that complaint—the Second Amended Complaint—in April
   17   2021.7 This Court granted that motion two month later; it dismissed Hang and
   18
   19
        1
              Mot. of Def. Old Dominion to Dismiss and/or Strike the Third Am.
  20    Compl. (the “Motion”) [ECF No. 20].
        2
   21         The Court considered the following papers: (1) Third. Am. Compl. (the
        “Amended Complaint”) [ECF No. 18]. (2) the Motion (including its
   22   attachments); (3) Pls.’ Opp’n (the “Opposition”) [ECF No. 21]; (4) Def.’s
        Reply in Supp. of the Motion (the “Reply”) [ECF No. 24]; (5) Def.’s Response
   23   to Order Regarding Suppl. Briefing (the “Defendant’s Supplemental Brief”)
        [ECF No. 32]; and (6) Pl.’s Suppl. Brief by Regarding the Effect of the Naranjo
  24    Decision on the Motion (the “Plaintiff’s Supplemental Brief”) [ECF No. 33].
        3
              Compl. [ECF No. 1-1].
   25   4
              Am. Compl. [ECF No. 1-2].
   26   5
              Notice of Removal [ECF No. 1].
        6
   27         Second Am. Compl. (the “Second Amended Complaint”) [ECF No. 9].
        7
              Mot. of Def. Old Dominion to Dismiss and/or Strike the Second
   28   Amended Complaint [ECF No. 12].

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    1   Canales’s Second Amended Complaint with leave to amend.8 Hang and
    2   Canales responded by filing their operative Amended Complaint, and Old
    3   Dominion once again moves to dismiss pursuant to Rule 12(b)(6) of the Federal
    4   Rules of Civil Procedure.9
    5   B.      Factual Summary
    6           Both Hang and Canales worked for Old Dominion as “hourly-paid, non-
    7   exempt ‘dock worker’ employee[s].”10 Hang was employed with Old Dominion
    8   from approximately August 2007 to August 2020, and Canales worked for Old
    9   Dominion from January 2018 to October 2020.11 On behalf of themselves and a
   10   putative class, Hang and Canales accuse Old Dominion of failing to provide
   11   legally compliant rest periods and violating various provisions of the California
   12   Labor Code.12
   13           Together Hang and Canales assert seven claims for relief against Old
   14   Dominion:
   15         failure to provide legally compliant rest periods;
   16         failure to authorize and permit all paid rest periods;
   17         failure to furnish accurate itemized wage statements on a timely basis;
   18         the derivative failure to furnish accurate itemized wage statements on a
   19           timely basis;
  20          violations of § 203 of California’s Labor Code;
   21         penalties pursuant to the Private Attorney General Act (“PAGA”); and
   22
   23   8
              Order on Mot. of Def. Old Dominion to Dismiss and/or Strike the Second
        Amended Complaint (“Order”) [ECF No. 17].
  24    9
              See generally Amended Complaint; Motion.
   25   10
              Amended Complaint ¶¶ 6, 7, & 9.
        11
   26         Id.
        12
              Id. at ¶¶ 24-33. Because the Court summarized Hang and Canales’s
   27   factual allegations at length in its prior Order, the Court need not repeat them
        here. See Hang v. Old Dominion Freight Line, Inc, 2021 WL 5034828, at *1–*3
   28   (C.D. Cal. June 21, 2021).

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    1         violation of California’s Unfair Competition Law (“UCL”) under
    2            Cal. Bus. & Prof. Code §§ 17200 et seq.13
    3            After the hearing on the Motion, the California Supreme Court issued its
    4   decision in Naranjo v. Spectrum Sec. Servs., Inc., 13 Cal. 5th 93 (2022). In its
    5   Motion and Reply, Old Dominion relied upon the underlying ruling from the
    6   California Court of Appeal. In view of that reliance, the Court directed the
    7   parties to confer and thereafter to provide briefing regarding the impact of the
    8   Naranjo decision on the Motion.14 In June 2022, the parties filed their
    9   respective supplemental briefs.15
   10                                II. LEGAL STANDARD
   11            A defendant may move to dismiss a complaint for failure to state a claim
   12   upon which relief can be granted. Fed. R. Civ. P. 12(b)(6). To survive such a
   13   motion, the complaint must articulate “enough facts to state a claim to relief
   14   that is plausible on its face.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570
   15   (2007). A complaint need not contain “detailed factual allegations,” but it must
   16   contain “more than labels and conclusions” or “a formulaic recitation of the
   17   elements of a cause of action.” Id. at 555. “A claim has facial plausibility when
   18   the plaintiff pleads factual content that allows the court to draw the reasonable
   19   inference that the defendant is liable for the misconduct alleged.” Ashcroft v.
  20    Iqbal, 556 U.S. 662, 678 (2009).
   21            “[T]o be entitled to the presumption of truth, allegations in a complaint
   22   or counterclaim may not simply recite the elements of a cause of action, but
   23   must contain sufficient allegations of underlying facts to give fair notice and to
  24    enable the opposing party to defend itself effectively.” AE ex rel. Hernandez v.
   25
        13
   26            Amended Complaint ¶¶ 34-98.
        14
   27            Order Regarding Suppl. Briefing [ECF No. 31].
        15
                 See generally Defendant’s Supplemental Brief; Plaintiff’s Supplemental
   28   Brief.

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    1   Cty. of Tulare, 666 F.3d 631, 637 (9th Cir. 2012). “[T]he factual allegations that
    2   are taken as true must plausibly suggest an entitlement to relief, such that it is
    3   not unfair to require the opposing party to be subjected to the expense of
    4   discovery and continued litigation.” Id. In addition, “a court may strike from a
    5   pleading an insufficient defense or any redundant, immaterial, impertinent, or
    6   scandalous matter.” Fed. R. Civ. P. 12(f).
    7                                  III. DISCUSSION
    8         As Old Dominion confirmed during the hearing, it moves to dismiss only
    9   the third through seventh claims for relief in the Amended Complaint.
   10   Accordingly, the Court will evaluate Old Dominion’s Motion with respect to
   11   those five claims in turn.
   12   A.    Third Claim for Relief: Independent Wage Statement Claim
   13         Hang and Canales’s third claim for relief for “Independent Failure to
   14   Timely Furnish Accurate Itemized Wage Statements” is based upon the
   15   contention that Hang and Canales “received wage statements that did not list
   16   their applicable hourly rates.”16 As a result, Hang and Canales maintain that
   17   they could not “ascertain whether they were being paid the proper rates.”17 Old
   18   Dominion attacks that independent wage statement claim on two grounds:
   19   (1) that Hang and Canales fail to allege sufficient facts demonstrating the
  20    requisite element of injury;18 and (2) that Hang and Canales fail to allege facts
   21   that Old Dominion provided inaccurate statements knowingly and
   22   intentionally.19
   23
  24
   25
        16
   26         Amended Complaint ¶ 55.
        17
              Id. at ¶ 58.
   27   18
              Motion 4:22-24.
   28   19
              Id. at 7:20-22.

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    1          1.     Failure to Allege Requisite Injury
    2          Section 226(a) of the California Labor Code requires an employer to issue
    3   a wage statement that, inter alia, shows “all applicable hourly rates in effect
    4   during the pay period and the corresponding number of hours worked at each
    5   hourly rate by the employee.” Id. Hang and Canales aver that their wage
    6   statements did not always contain that information.20 The operative portion of
    7   the statute provides that:
    8          an employee is deemed to suffer injury for purposes of this
    9          subdivision if the employer fails to provide accurate and complete
   10          information as required by any one or more of items in
   11          [Cal. Lab. Code § 226(a)] and the employee cannot promptly and
   12          easily determine from the wage statement alone one or more of the
   13          following: (i) The amount of the gross wages or net wages paid to
   14          the employee during the pay period or any of the other information
   15          required to be provided on the itemized wage statement pursuant to
   16          items (2) to (4), inclusive, (6), and (9) of [Cal. Lab. Code § 226(a)].
   17   Cal. Lab. Code § 226(e)(2)(B) (emphasis added).
   18          Hang and Canales previously pleaded that their wage statements lacked
   19   some of the information required under Cal. Lab. Code § 226(a), including “all
  20    applicable hourly rates.”21 In their Amended Complaint, Hang and Canales
   21   augment their pleading to allege that Old Dominion’s “wage statements listed
   22   only the hours at straight time, overtime, and double overtime, and the total
   23   paid, but either failed to list the rate paid, or listed an incorrect rate, in each
  24    category, making accurate mathematical deductions impossible.”22 Taking
   25   Hang and Canales’s allegation as true, if Old Dominion listed an inaccurate rate
   26
        20
               Amended Complaint ¶ 55.
   27   21
               Opposition 5:1.
   28   22
               Amended Complaint ¶ 58 (emphasis added).

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    1   of pay on its employees’ wage statements, then those employees would not be
    2   able to determine their pay correctly. That allegation suffices to plead injury
    3   under Cal. Lab. Code § 226(e)(2)(B). See Raines v. Coastal Pac. Food
    4   Distributors, Inc., 23 Cal. App. 5th 667, 676 (2018); cf. Ontiveros v. Safelite
    5   Fulfillment, Inc., 2017 WL 6261476, at *7 (C.D. Cal. Oct. 12, 2017) (finding
    6   against plaintiff employee where performing simple math could enable the
    7   employee to ascertain the requisite information).
    8         Old Dominion contends that Hang and Canales needed to have submitted
    9   an “exemplar” of their wage statement.23 The Court is not convinced. Hang
   10   and Canales need not submit such evidence at this stage—they must merely
   11   plead sufficient facts and plausible allegation. See Twombly, 550 U.S. at 545
   12   (2007) (“plausible grounds . . . simply calls for enough fact to raise a reasonable
   13   expectation that discovery will reveal evidence of [the alleged conduct]”). It is
   14   sufficient for Hang and Canales to plead that they received wage statements that
   15   were inaccurate with respect to hours and wages, making it difficult to
   16   determine whether they were paid the proper rates.24 See Sanders v. Old
   17   Dominion Freight Line, Inc., 2018 WL 6321631, at *3 (C.D. Cal. Sept. 13, 2018);
   18   Cabardo v. Patacsil, 248 F. Supp. 3d 1002, 1011 (E.D. Cal. 2017) (“because their
   19   wage statements were silent or inaccurate as to hours, “there is no way”
  20    [plaintiffs] could “promptly and easily determine from the wage statement[s]
   21   alone” their total hours worked). Therefore, the Court finds that Hang and
   22   Canales have made sufficient allegations of an injury under Cal. Lab. Code
   23   § 226(e).
  24
   25
   26
   27   23
              Motion 7:7.
   28   24
              Amended Complaint ¶ 58.

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    1         2.     Failure to Meet the Requirements of Rule 8 for Knowing and
    2                Intentional Conduct
    3         In the alternative, Old Dominion maintains that the Amended Complaint
    4   “still alleges no facts to plausibly suggest that [Old Dominion] provided
    5   inaccurate wage statements or that it did so knowingly and intentionally.”25
    6   “‘[A] claim for damages under Section 226(e) requires a showing of three
    7   elements: (1) a violation of Section 226(a); (2) that is ‘knowing and intentional’;
    8   and (3) a resulting injury.’” Arroyo v. Int’l Paper Co., 2020 WL 887771, at *7
    9   (N.D. Cal. Feb. 24, 2020) (quoting Willner v. Manpower Inc., 35 F. Supp. 3d
   10   1116, 1128 (N.D. Cal. 2014)). “To establish that Defendants’ violation of
   11   § 226(a) was ‘knowing and intentional,’ Plaintiffs must demonstrate that
   12   Defendants were ‘aware of the factual predicate underlying the violation[s].’”
   13   Cabardo, 248 F. Supp. 3d at 1010 (quoting Novoa v. Charter Commc’ns, LLC,
   14   100 F. Supp. 3d 1013, 1028 (E.D. Cal. 2015)).
   15         Hang and Canales revised their pleading to assert that “[t]he deficient
   16   wage statements were issued according to Defendants’ policy and practice.”26
   17   Old Dominion contends that “such conclusory allegations fail to state how [Old
   18   Dominion] purportedly ‘knew’ that any wage statements failed to include
   19   information required by Section 226(a), and such allegations have routinely been
  20    held insufficient under Rule 8.”27 Old Dominion cites a number of cases in such
   21   courts ruled against plaintiffs,28 but none of them is on point because, in those
   22   cases, the plaintiffs did nothing more than parrot the language of the statute. See
   23   Duley v. Centerra Grp., LLC, 2020 WL 6526369, at *4 (C.D. Cal. Mar. 18,
  24    2020); Dawson v. HITCO Carbon Composites, Inc., 2017 WL 7806618, at *6
   25
        25
   26         Motion 7:20-22 (emphasis original).
        26
              Amended Complaint ¶ 56.
   27   27
              Motion 8:6-8.
   28   28
              Id. at 8:22-28.

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    1   (C.D. Cal. Jan. 20, 2017); Brown v. Wal-Mart Stores, Inc., 2013 WL 1701581, at
    2   *8 (N.D. Cal. Apr. 18, 2013); Ramirez v. Manpower, Inc., 2014 WL 116531, *5
    3   (N.D. Cal. Jan. 13, 2014).
    4         Here, Hang and Canales do more. Their allegation that those wage
    5   statement deficiencies were part of Old Dominion’s policy or practice indicates
    6   that Old Dominion was “aware of the factual predicate underlying the
    7   violation.” Cabardo, 248 F. Supp. 3d at 1010; see also Willner, 35 F. Supp. 3d at
    8   1131; Garnett v. ADT LLC, 139 F. Supp. 3d 1121, 1133 (E.D. Cal. 2015).
    9   Whether or not that fact alone is sufficient ultimately to establish Old
   10   Dominion’s knowledge or intent is an issue for trial (or, perhaps, summary
   11   judgment). Under the Federal Rules of Civil Procedure, “intent” and
   12   “knowledge” may be “alleged generally,” in contrast to the heightened
   13   pleading standard for fraud. See Fed. R. Civ. P. 9(b); see also Finder v. Leprino
   14   Foods Co., 2016 WL 3774269, at *3 (E.D. Cal. Jan. 8, 2016). Thus, Hang and
   15   Canales have alleged sufficient facts to support their Independent Wage
   16   Statement Claim. Old Dominion’s Motion is DENIED with respect to Hang
   17   and Canales’s third claim for relief.
   18   B.    Fourth Claim for Relief: Derivative Wage Statement Claim
   19         Hang and Canales’s fourth claim also pertains to supposed inaccuracies in
  20    Old Dominion’s wage statements.29 Unlike their third claim for relief, Hang and
   21   Canales’s claim here is derivative of their second claim for relief, which alleges
   22   that Old Dominion failed to permit all paid rest periods.30 Specifically, Hang
   23   and Canales allege that:
  24          Defendants allegedly failed to pay the members of the Derivative
   25         Wage Statement Class all wages due and owing. As a derivative
   26
   27   29
              Amended Complaint ¶¶ 64-75
   28   30
              Id. at ¶¶ 46-53.

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    1         result of this failure to pay wages and as a pattern and practice, [Old
    2         Dominion] did not and do not maintain accurate records pertaining
    3         to the total hours worked for Defendants by the members of the
    4         Derivative Wage Statement Class.31
    5   It is helpful here to first identify what that statement is not. Hang and Canales
    6   do not allege that there is a discrepancy in the information provided on the wage
    7   statement; e.g., due to “due to time clock rounding.” Bates v. Leprino Foods Co.,
    8   2020 WL 6392562, at *7 (E.D. Cal. Nov. 2, 2020) (quoting Maldonado v. Epsilon
    9   Plastics, Inc., 22 Cal. App. 5th 1308, 1334 n.14 (2018)). The alleged inaccuracy is
   10   a result of Old Dominion’s failure to include wages that Hang and Canales
   11   believe “should have been paid but were not.”32
   12         In their original briefs, Old Dominion, Hang, and Canales argued
   13   extensively over whether that which Hang and Canales would like to count as
   14   wages should, in fact, count as wages.33 In view of Naranjo, Old Dominion
   15   withdrew its argument,34 as it appears that Naranjo settled that particular
   16   disagreement in favor of Hang and Canales.
   17         Old Dominion withdrew other arguments regarding this claim as well;35
   18   only one now remains. Old Dominion maintains that Hang and Canales do not
   19   plead enough facts plausibly to suggest that Old Dominion failed to provide
   20   accurate wage statements knowingly and intentionally.36 But for reasons
   21   explained above, see supra Part III.A.2., the Court concludes that the Amended
   22   Compliant is sufficient here to give notice to Old Dominion of the claim and to
   23
   24   31
              Id. at ¶¶ 67 & 68 (emphasis added).
   25   32
              Motion 9:9-15 (emphasis original).
        33
   26         Opposition 8:3-9:23.
        34
              Defendant’s Supplemental Brief 1:14-15.
   27   35
              Id. at 1:16-18.
   28   36
              Motion 12:5-13:6.

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    1   explain the factual basis—i.e., that Old Dominion knew about its failure to pay
    2   rest period premiums and made it a policy and practice to exclude them in the
    3   wage statements.37 See Fed. R. Civ. P. 8. That allegation is sufficient for the
    4   pleading stage. Therefore, the Motion is DENIED with respect to the fourth
    5   claim for relief.
    6   C.     Fifth Claim for Relief: Violations of California Labor Code § 203
    7          Hang and Canales allege that Old Dominion failed to pay members of the
    8   LC 203 class38 “their entire wages due and owing at the time of their
    9   termination or within seventy-two (72) hours of their resignation.”39 California
   10   law provides that:
   11          [i]f an employer willfully fails to pay, without abatement or
   12          reduction, . . . any wages of an employee who is discharged or who
   13          quits, the wages of the employee shall continue as a penalty from the
   14          due date thereof at the same rate until paid or until an action therefor
   15          is commenced; but the wages shall not continue for more than 30
   16          days.
   17   Cal. Lab. Code § 203. This claim, therefore, is also derivative of Hang and
   18   Canales’s second claim for relief, in which Hang and Canales allege that Old
   19   Dominion failed to pay them their unpaid break premiums at the time that their
   20   employment ended.40
   21          Old Dominion makes three arguments in its Motion for why Hang and
   22   Canales’s unpaid wages claim fails. First, Old Dominion says that Hang and
   23
        37
   24          Amended Complaint ¶ 69.
        38
               Hang and Canales define the LC 203 class as “[a]ll formerly-employed
   25   California citizens employed by Defendants as hourly-paid, non-exempt ‘dock
        worker’ employees during the appropriate time period who were subjected to
   26   Defendants’ policies and practices regarding Labor Code § 203 and the payment
        of final wages as specifically described herein.” Amended Complaint ¶ 25.e.
   27   39
               Id. at ¶ 79.
   28   40
               Id. at ¶¶ 77 & 79; Opposition 15:15-18.

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    1   Canales do not plead sufficient facts about their respective separations with Old
    2   Dominion to have stated a claim for unpaid wages under Cal. Lab. Code § 203.41
    3   Second, Old Dominion claims that Hang and Canales’s Amended Complaint
    4   lacks sufficient facts to demonstrate that Old Dominion “willfully” failed to pay
    5   their entire wages.42 And third, insofar as this claim is derivative of Hang and
    6   Canales’s rest period claims in their second claim for relief, it fails as a matter of
    7   law because rest period payments under Cal. Lab. Code § 226.7 are not actually
    8   “wages earned” for purposes of incurring waiting time penalties under
    9   Cal. Lab. Code § 203.43
   10         While Old Dominion has since withdrawn its third argument in view of
   11   the holding in Naranjo,44 the Court agrees with Old Dominion’s observation that
   12   “Plaintiffs do not even allege basic facts such as whether their respective
   13   separations were due to a termination or voluntary resignation.”45 Indeed, the
   14   Amended Complaint reflects that very ambiguity in its allegations, allowing for
   15   both possibilities without specifying which provision applies to whom.46 The
   16   failure to identify whether Hang or Canales quit or were terminated is a material
   17   notice issue, since quitting—as opposed to being fired—implicates different
   18   timing requirements, which in turn implicate different waiting penalties.
   19   Compare Cal. Lab. Code § 201(a) (“[i]f an employer discharges an employee, the
   20   wages earned and unpaid at the time of discharge are due and payable
   21   immediately”) with Cal. Lab. Code § 202(a) (“[i]f an employee . . . quits his or
   22   her employment, his or her wages shall become due and payable not later than
   23
   24   41
              Motion 17:22-18:5.
   25   42
              Id. at 18:6-13.
        43
   26         Id. at 19:16-20:17.
        44
              Defendant’s Supplemental Brief 1:19.
   27   45
              Motion 17:22-23; see also Reply 8:21-9:6.
   28   46
              See Amended Complaint ¶¶ 6, 9, 77, & 79.

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    1   72 hours thereafter, unless the employee has given 72 hours previous notice of
    2   his or her intention to quit, in which case the employee is entitled to his or her
    3   wages at the time of quitting”). Hang and Canales should know whether they
    4   quit or got fired; this deficiency should be easily remedied. For that reason, the
    5   Court GRANTS the Motion and dismisses the fifth claim for relief with leave
    6   to amend. Accord Sanchez v. Ritz Carlton, 2015 WL 5009659, at *3 (C.D. Cal.
    7   Aug. 17, 2015).
    8   D.     Sixth Claim for Relief: The PAGA Claim
    9          Hang and Canales characterize their PAGA claim as derivative of any of
   10   their first five claims for relief.47 At the hearing, Old Dominion conceded that
   11   the PAGA claim would survive so long as any of the first five claims for relief
   12   proceed. Because the first and second claims for relief are not at issue in this
   13   Motion, the Court finds it appropriate to DENY the Motion with respect to
   14   Hang and Canales’s sixth claim for relief.
   15   E.     Seventh Claim for Relief: The UCL Claim
   16          In their seventh claim for relief, Hang and Canales allege that Old
   17   Dominion “engaged in unfair business practices in California by practicing,
   18   employing and utilizing the employment practices outlined in the preceding
   19   paragraphs, specifically, by requiring employees to perform the labor services
   20   complained of [in the Amended Complaint] without the requisite
   21   compensation.”48 In view of that allegation, Hang and Canales pray for an
   22   accounting, restitution, injunctive relief, declaratory relief, attorneys’ fees, and
   23   equitable relief.49
   24          Old Dominion attacks Hang and Canales’s UCL claim on several fronts.
   25   First, Old Dominion argues that their UCL claim fails because it is derivative of
   26
        47
               Opposition 16:24-25.
   27   48
               Amended Complaint ¶ 92.
   28   49
               Id. at Prayer ¶¶ q & s-y.

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    1   other claims that themselves fail to meet the pleading requirements of Rule 8.50
    2   The Court agrees in part and disagrees in part. Although the UCL claim is
    3   derivative of the first five claims for relief,51 Hang and Canales’s first and second
    4   claims for relief are unopposed. Furthermore, as discussed above, see supra
    5   Parts III.A. & B., the Court concludes that Hang and Canales’s third and fourth
    6   claims for relief may proceed past the pleading stage. Accordingly, the UCL
    7   cannot be dismissed simply as derivative. But to the extent that Hang and
    8   Canales’s UCL claim is derivative of their fifth claim for relief—which itself has
    9   been dismissed, see supra Part III.D.—the Motion is GRANTED, and the UCL
   10   claim is dismissed with leave to amend.
   11         Second, Old Dominion contends that Hang and Canales’s remedies for
   12   their UCL claim are limited. Again, the Court agrees in part. California’s unfair
   13   competition law prohibits “any unlawful, unfair or fraudulent business act or
   14   practice.” Cal. Bus. & Prof. Code § 17200. Actions brought under that statute
   15   may be asserted either by private plaintiffs or by public prosecutors. See
   16   Cal. Bus. & Prof. Code § 17204. In a private unfair competition law action,
   17   though, the plaintiff’s remedies are “generally limited to injunctive relief and
   18   restitution.” Clark v. Superior Ct., 50 Cal. 4th 605, 610 (2010); see also
   19   Cal. Bus. & Prof. Code § 17203. Consequently, the Court must evaluate
   20   whether restitution or injunctive relief is permissible remedy under the statutes
   21   underlying Hang and Canales’s first three claims for relief.
   22         To start, Hang and Canales’s first two claims for relief rely on
   23   Cal. Lab. Code § 226.7 regarding rest and meal period violations.52 While Old
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              Motion 21:6-22.
   27   51
              Opposition 17:7-15.
   28   52
              See Order 8:3.

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    1   Dominion initially contested Hang and Canales’s ability to obtain restitution for
    2   violations of that provision, it has since withdrawn that argument.53
    3         With respect to Hang and Canales’s third claim for relief, Old Dominion
    4   points out that the penalty provisions under Cal. Lab. Code § 226 for itemized
    5   wage statements are also not recoverable as restitution under the UCL. See
    6   Campbell v. PricewaterhouseCoopers, 2008 WL 3836972, at *6 (E.D. Cal. Aug. 14,
    7   2008) (finding such penalties are “clearly not restitutionary”). Section 226 of
    8   the California Labor Code cannot provide a basis for a § 17200 claim, given that
    9   it “provide[s] for a penalty, rather than wages.” Rubin v. Wal-Mart Stores, Inc.,
   10   599 F. Supp. 2d 1176, 1179 (N.D. Cal. 2009). Similarly, penalty provisions for
   11   statutory penalties under Cal. Lab. Code § 203 are not recoverable as restitution
   12   under the UCL. See Pineda v. Bank of Am., N.A., 50 Cal. 4th 1389, 1402 (2010)
   13   (holding that hold Cal. Lab. Code § 203 penalties cannot be recovered as
   14   restitution under the UCL). Therefore, the Court finds that restitution is
   15   unavailable as a derivative remedy under the UCL for Hang and Canales’s third
   16   and fourth claims for relief.
   17         Third, Old Dominion takes aim at Hang and Canales’s ability to leverage
   18   the UCL for injunctive relief.54 Old Dominion contends that Hang and Canales
   19   lack standing to pursue injunctive relief for any of their claims because “they
   20   cannot establish that they will suffer any threat of real and immediate future
   21   harm as a result of the past misconduct alleged in the [Amended Complaint]
   22   given they no longer work for [Old Dominion].”55 The Amended Complaint
   23   avers that neither Hang nor Canales works for Old Dominion anymore,56 and it
   24   makes no mention that either of them seeks re-employment with their former
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   26         Defendant’s Supplemental Brief 1:20.
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              Motion 23:6-24:23.
   27   55
              Id. at 23:8-11.
   28   56
              Amended Complaint ¶¶ 6 & 9.

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    1   employer.57 Thus, the Court concludes that Hang and Canales lack standing in
    2   their individual capacities for injunctive relief. See Ortega v. Watkins & Shepard
    3   Trucking, Inc., 2019 WL 2871161, at *9 (C.D. Cal. Mar. 27, 2019) (finding no
    4   standing for injunctive relief where plaintiff was no longer employed by
    5   defendant, and it was not apparent that plaintiff would return to work for
    6   defendant). However, because the putative class seeks to include all non-
    7   exempt dock worker employees who were subjected to Old Dominion’s policies
    8   and practices during the appropriate time period,58 it would be premature for
    9   this Court to conclude in broad strokes that no injunctive relief could be sought.
   10   Such an issue is best suited for consideration under a motion for class
   11   certification. See, e.g., Ellis v. Costco Wholesale Corp., 657 F.3d 970, 986 (9th Cir.
   12   2011) (noting that, as former employees, the named plaintiffs would not share an
   13   interest with class members whose primary goal is to obtain injunctive relief).
   14         Furthermore, given the presence of a live dispute, the Court finds Old
   15   Dominion’s request to dismiss Hang and Canales’s prayer for declaratory relief
   16   to be similarly premature. See MedImmune, Inc. v. Genentech, Inc., 549 U.S. 118,
   17   127 (2007) (explaining that declaratory relief is available where “the facts
   18   alleged, under all the circumstances, show that there is a substantial controversy,
   19   between parties having adverse legal interests, of sufficient immediacy and
   20   reality to warrant the issuance of a declaratory judgment”). Whether Hang,
   21   Canales, or any members of the putative class would truly prefer declaratory
   22   relief—as opposed to restitution or some form of injunctive relief—is not for
   23   this Court to decide.
   24         In summary, the Court narrowly GRANTS the Motion of Old Dominion
   25   without leave to amend regarding the seventh claim for relief to the extent that
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   27         See generally id; see also Reply 12:3-6 (noting that Hang and Canales fail to
        properly address the issue of standing).
   28   58
              Amended Complaint ¶ 25.

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    1   Hang and Canales seek restitution for penalties arising under Sections 203 and
    2   206 of the California Labor Code. Furthermore, the Court GRANTS the
    3   Motion of Old Dominion with leave to amend to the extent that the claim is
    4   derivative of the fifth claim for relief and to the extent that Hang and Canales
    5   seek injunctive relief in their individual capacities for any claim herein.
    6   Otherwise, the Court DENIES the Motion with respect to the seventh claim for
    7   relief, especially to the extent that members of the putative class—who are
    8   currently employed by, or intend to seek re-employment with, Old Dominion—
    9   seek injunctive relief or to the extent that any member of the class seeks
   10   declaratory relief.
   11   F.    Motion to Strike
   12         Old Dominion asks the Court to strike elements of the Amended
   13   Complaint. “The purpose[] of a Rule 12(f) motion is to avoid spending time and
   14   money litigating spurious issues.” Barnes v. AT & T Pension Ben. Plan-
   15   Nonbargained Program, 718 F. Supp. 2d 1167, 1170 (N.D. Cal. 2010). Motions to
   16   strike are generally disfavored, and they “only are appropriate when the movant
   17   can show that the challenged matter has no bearing on the subject matter of the
   18   litigation and that its inclusion will prejudice the defendants.” Sultan v.
   19   Medtronic Inc., 2011 WL 13131112, at *2 (C.D. Cal. Nov. 16, 2011). Finding no
   20   such immaterial or impertinent information, the Court DENIES Old
   21   Dominion’s Motion to Strike.
   22                                  IV. CONCLUSION
   23         For the foregoing reasons, the Court hereby ORDERS as follows:
   24         1.     The Motion is DENIED with respect to Hang and Canales’s third,
   25   fourth, and sixth claims for relief.
   26         2.     The Motion is GRANTED with respect Hang and Canales’s fifth
   27   claim for relief, which is dismissed with leave to amend.
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